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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                   7     CHASOM BROWN, et al.,                              Case No. 20-cv-03664-YGR (SVK)
                                   8                   Plaintiffs,
                                                                                            ORDER IN RE SUBMISSION OF
                                   9             v.                                         DOCUMENTS FOR IN-CAMERA
                                                                                            REVIEW
                                  10     GOOGLE LLC,
                                                                                            Re: Dkt. No. 456
                                  11                   Defendant.

                                  12
Northern District of California
 United States District Court




                                  13          The Court has reviewed the Parties’ submission regarding in-camera review of seven

                                  14   documents produced by Google. The Court rules as follows:

                                  15

                                  16    Document                       Status
                                        GOOG-CABR-03667431             The Parties both seek in-camera review of this document.
                                  17                                   Submit for in-camera review.
                                  18
                                        GOOG-CABR-05766200             Submit for in-camera review.
                                  19
                                        GOOG-BRWN-00846508             Submit for in-camera review.
                                  20
                                        GOOG-CABR-00547295             Submit for in-camera review.
                                  21

                                  22    Brown Log Entry 5607           Request for in-camera review denied.

                                  23    CABR1530                       Google states that it will re-produce this document with limited
                                                                       redactions. Request for in-camera review of document as
                                  24                                   initially produced is denied.
                                  25
                                        GOOG-BRWN-99845291             Request for in-camera review denied.
                                  26
                                              No later than March 14, 2022, Google is to electronically submit the documents
                                  27   designated above for in-camera review to the undersigned’s Courtroom Deputy and to file a
                                  28
                                         Case 4:20-cv-03664-YGR Document 468 Filed 03/07/22 Page 2 of 2




                                   1   statement of not more than three pages in support of its privilege claims. Google may also file

                                   2   declarations with factual support for its privilege claims. The declarations are not to contain

                                   3   argument.

                                   4          SO ORDERED.

                                   5   Dated: March 7, 2022

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                                                                                                    SUSAN VAN KEULEN
                                   8                                                                United States Magistrate Judge
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                                  12
Northern District of California
 United States District Court




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